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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 MELANICE BRISCO,                                  )
                                                   )
                                Plaintiff,         )
                                                   )   No.
                       v.                          )
                                                   )   Formerly Case No. 2020 L 007115
 METROSOUTH MEDICAL CENTER, and                    )   Circuit Court of Cook County, Illinois
 DR. ARLETTE F. BROWN, M.D.,                       )
                                                   )
                                Defendants.        )

                 NOTICE OF REMOVAL OF A CIVIL ACTION AND
              SUBSTITUTION OF THE UNITED STATES AS DEFENDANT

    To:     Iris Martinez                              Elrabadi Law
            Clerk of the Circuit Court                 22 W. Washington Street
            Richard J. Daley Center, Room 1001         Suite 1500
            50 West Washington Street                  Chicago, Illinois 60602
            Chicago, Illinois 60602

       The United States, by its attorney, John R. Lausch, Jr., United States Attorney for the

Northern District of Illinois, submits this notice of removal of the above-captioned civil action

from the Circuit Court of Cook County, Illinois, to the United States District Court, Northern

District of Illinois, pursuant to 42 U.S.C. § 233, and in support thereof states the following:

       1.       On July 6, 2020, plaintiff Melanice Brisco commenced the above civil action

against Dr. Arlette Brown, M.D. and Metrosouth Medical Center alleging medical malpractice. A

copy of the state court complaint is attached as Exhibit A. For purposes of this lawsuit, Metrosouth

Medical Center is a private entity that receives grant money from the Public Health Service

pursuant to 42 U.S.C. § 254b and was deemed to be an employee of the Public Health Service

pursuant to 42 U.S.C. § 233. Exhibit B. In addition, Dr. Arlette Brown, M.D. was acting within
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the scope of her employment at Metrosouth Medical Center with respect to the incidents referred

to in the complaint. Id.

       2.       This notice of removal is filed in accordance with 42 U.S.C. § 233 upon

certification by the designee of the Attorney General of the United States that defendant Dr. Arlette

Brown, M.D. was acting within the scope of her employment at Metrosouth Medical Center with

respect to the incidents referred to in the complaint. Exhibit B.

       3.      This notice of removal may be filed without bond at any time before trial. 42

U.S.C.§ 233(c). Trial has not yet been had in this action.


       4.       Pursuant to the certification by the Attorney General’s designee and the filing of

this notice of removal, under 28 U.S.C. § 233(c), this civil action is deemed an action against the

United States, and the United States is substituted as the sole federal party defendant in place of

defendants Dr. Arlette Brown, M.D., and Metrosouth Medical Center.

       WHEREFORE, this action now pending in the Circuit Court of Cook County, Illinois, is

properly removed to this court pursuant to 42 U.S.C. § 233, and the United States is substituted as

the defendant in lieu of Dr. Arlette Brown, M.D. and Metrosouth Medical Center.

                                              Respectfully submitted,

                                              JOHN R. LAUSCH, Jr.
                                              United States Attorney

                                              By: s/ Paraisia Winston Gray
                                                  PARAISIA WINSTON GRAY
                                                  Assistant United States Attorney
                                                  219 South Dearborn Street
                                                  Chicago, Illinois 60604
                                                  (312) 469-6008
                                                  paraisia.winston.gray@usdoj.gov
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                                      Certificate of Service

       The undersigned Assistant United States Attorney hereby certifies that in accordance with

Fed. R. Civ. P. 5, LR 5.5, and the General Order on Electronic Case Filing (ECF), the following

document:

                         NOTICE OF REMOVAL AND SUBSTITUTION

was served pursuant to the district court’s ECF system as to ECF filers, if any, and was sent by

first-class mail on April 12, 2021 to the following non-ECF filers:

            Elrabadi Law
            22 W. Washington Street
            Suite 1500
            Chicago, IL 60602


                                                      s/ Paraisia R. Winston Gray
                                                     PARAISIA R. WINSTON GRAY
                                                     Assistant United States Attorney
                                                     219 South Dearborn Street
                                                     Chicago, Illinois 60604
                                                     (312) 469-6008
                                                     paraisia.winston.gray@usdoj.gov
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                                       CERTIFICATION

       Pursuant to the provisions of 42 U.S.C. § 233, and by virtue of the authority delegated to

me by the Attorney General under 28 C.F.R. § 15.4 and through the United States Attorney for the

Northern District of Illinois, I hereby certify that I have read the complaint in Melanice Brisco v.

MetroSouth Medical Center and Dr. Arlette F. Brown, M.D., No. 2020 L 007115 (Circuit Court

of Cook County, Illinois), and all attachments thereto. On the basis of the information now

available, I find that at the relevant times, Access Community Health Network was a private entity

receiving grant money from the Public Health Service pursuant to 42 U.S.C. § 254b and was

deemed to be an employee of the Public Health Service pursuant to 42 U.S.C. § 233. Further, I

certify that Arlette F. Brown, M.D., was acting within the scope of her employment at Access

Community Health Network with respect to the incidents referred to in the complaint.

Accordingly, for purposes of the above case, Arlette F. Brown, M.D., is deemed to be an employee

of the United States pursuant to 42 U.S.C. § 233, for federal statutory tort purposes only.


                                               s/ Thomas P. Walsh
                                              THOMAS P. WALSH
                                              Chief, Civil Division
                                              Office of the United States Attorney
                                                  for the Northern District of Illinois

Date: March 30, 2021
